Cese'Z:Ql-C'\/-OZSlB-BBD '|'I)_ocument 151 Filed 07/27/05 ~‘Page 1 of 14 Pege|D 4

_v.

IN THE UNITED S_TATES DISTRICT COURT - .. nm B'¥'_.-%-._.._D.G
FOR THE WESTERN DISTRICI` OF TENNESSEE -
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7 UNITEI`) s'rATE`s oF AMERI`CA ) QMA§AH§#TGOULC%W
maintain § w/D OFIN irene
~ ' ` ) ,
) Civil A'ctien No.: 91-.2815-G .
) `
' VELSICOL CHEMICAL CORPORATION, a ) _
' Delawa_re corporation, CITY OF MEM]’HIS, _ ) f
TENNESSE_E, a municipal corporation, ) 7
. )
Defendan_ts ; ~ )

AMENDMENTS 'ro THE PARTIAL coNsENT DECREE
' -'I_`hc Partial Consent_'Decree entered in this aetion on October 10, 1991, by agreement of
the parties and upon approval of the Coui‘t is hereby amendedas follows:
n l. Section IV (Det'i`nitions) fpage-B] is amended as folloWs:
by' removing'the phrase “Velsico{ Chernical Corporation (“Velsicol”)” from definition

“P" for “Settlors” and replacing it With “Custodial 'I_`rust.”
By adding additional definitions as follows:

(X) -“Bankruptcy Settlement Agreement" shall mean the Settlement Agreement between
the United States, the State of Michigan, the State of New Jersey, the State of Tennessee,
Velsicol Chemical Corporalion, Fruit Of The Loom, lnc., and NW`[ Land Management,

Inc. that was approved by the United Slates Bankruplcy Court for the District of Delaware

"'h!s document entered on the docket sh
'*~ Ru\e 58 end/or 79(a) FRCP on

l Case 2: 91- -C\/- 0281-5 BBD Document 151 Filed 07/27/05 Page 2 of 14 Page|D 5

on August 9, 2002, in that oourt’ s bankruptcy action number 99-4497 (PJW), attached

hereto and incorporated herein as Exhibit A.

(Y) “Custodial"'l`rust” shall have the meaning assigned to that term in the Bankruptcy
Settlement Agreement. The Custodial Trust is LePetomane-l[l, Inc., not individually but

solely as Custodial Trustee.

2. Sub-Section V.C. (Commitments by Settlors and EPA) is amended by adding a new

paragraph 6 to read as follows:

6. The Custodial Trust shall be substituted for'VelsicoI as a Settlor and shall
thenceforth asslune all responsibilities and obligations previously held by Velsicol under
the Consent Decree,r as am_ended; provided, however`, that with respect to the Custodial
Trust only, its assumption of the obligations of Velsico_l under the terms of this Consent
Decree shall be limited to the extent of funding for the Hollywood Dump Site Facility
Trust Account as-described in the Bankruptcy Settlement Agreement, and shall otherwise
be subject to the terms and limitations of the Bankruptcy Settlement Agreement.
.Moreover, in the event and to the extent that any provision of this Consent Decree, as
amended, is determined to be inconsistent with the terms and limitations ot` the
Bankruptcy Settlemcnt Agreement, then the terms and limitations of the Bankruptcy

Settlement Agreement shall control.

' .

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3. Section XV (Trust Fund) [pages 32-33] is amended as follows:

Sub-section A is amended by deleting it in its entirety and substituting the following:

_` A. The “Hollywood Dump Site Revised Trust Agreement” '(“Trust Agreement”)

replaces the previously approved Hollywood Dump Site Trust Agreement and sets forth
the terms and conditions for the operation of the Hollywood Dump Site Trust Fund

(“Trust Fund”) upon approval by the court of these Amendments To Partial Consent

` Decree. lt shall be the obligation of the Trustee of the Trust Fund to finance the

obligations of the Settlors under the Consent Decree. The Settlors shall make all
necessary payments to fully fund the Trust Fund in the manner and according to the
schedule set forth for each Settlor in the 'Trust Agreement. Money in the Trust Fund
shall be used to pay the expenses of the Work conducted pursuant to the Consent Decree

and payments required pursuant to Section XV]]] of the Consent Decree, including trust

n administration expense“s; provided, however, that the Trust Fund shall not be used to pay

stipulated penalties pursuant to Section XXII of the Consent Decree.
Sub'-section B is amended by deleting it in its entirety and substituting the following:

B. Notwithstanding anything in the Trust Agreement, the City shall be responsible
for compliance with the Consent Decree. No proposed change in the Trust Agreement or
the Trustee shall be effective prior to receipt by the City of EPA’s written notice of its

approval

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Sub-section C is amended by deleting it in its entirety and substituting the following:l

C. The City shall be responsible for ensuring that the Trust Fund contains sufficient
. funds to'pay the expected obligations of the Settlors under the Consent Decree for the
next one`hundred and eighty (180) days.- In the event the amount of funds in the Trust
Fund falls below this level, the City shall within the next thirty (30) days advance
sufficient additional funds to the Trust Fund 'to ensure prompt payment of all obligations
of the Settlors under the Consent Decree as projected for the then next one hundred and
eighty (180) days. Money remaining in the Trust Fund upon both issuance of
Certitication of -Cornpletion by the _United States and issuance of codification that all
Re_sponse Co_sts have been paid shall then be disbursed in accordance with the terms of

the Trust Agreement. y

4.' Section XXIII (Covenants Not To Sue By The United _States) [pages 50-53] is amended
by the addition of a new sub~Section that shall be inserted at the end of the Section and

shall read as follows:

` H. Velsicol shall be relieved of all obligations and further liability pursuant to the
Consent Decree consistent with the terms of the Bankruptcy Settlement Agreement. The
Custodial Trust’s liability shall be limited by the terms of the Bankruptcy Settlement

Agrcement.

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5. -Section XXVII (Notices_ And Submissions) [pages 56-57] is amended as follows: Sub-

SectionB is deleted in its entirety and in its place the following is substituted:

B. Unless noted otherwise, where written notice is required to be given or a report to
other document is required to be submitted, such notice shall be sent to:

7 Randy Bryant -' .
Rernedial Proj ect Manage
Waste Mana_gement Division
United States Environmental Protection Agency, Region 4
' Sarn Nunn Atlanta Federal Center
61 Forsyth Street `
Atlanta, Geor`gia 30303-8960

Paul Patterson

Administrator, Environrnental Engineering
City Hall `

125 North Main St-, Room 608

Memphis, TN 38103

(901) 576-6742

Offlce of the Custodial Trust

LePetomane I]I, lnc., not individually but solely as Custodial Trustee

J ay A. Steinberg, not individually but solely as President of
LePetoma.ne llI Inc., not individually but solely as Custodial Trustee

321 N. Clark Street Suite 2'700 '

Chicago, Illinois 60603

Unlcss noted otherwise, whenlegal notice is required, such legal notice shall be sent to:

Sara L. Hall

City Attorney

City of Memphis

125 North Main St., Room 336
Memphis, TN 38103

(901) 576-65ll

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` Quentin C.r Pair'
Environmental Enforcernent Section
Environment and Natural Resources Division
U.S. Department of justice
P.O. Box 7611
Washington1 DC_20044

David S. `Engle
' Associate Regional Counsel
United States Environrnental Protection Agency, Region 4
Sarn Nunn Atlanta Federal Center
61 Forsyth Street
Atlanta, Georgia 30303-89_60

7 Unless otherwise noted, copies of checks-and payment transmittal letters to the United

States shall be sent to:
Ms. Paula V. Batchelor
7 Waste Management Division
. United States Environrnental Protection Agency, Region 4
Sam Nunn Atlanta Federal Center
61 Forsyth Street
Atlanta, Georgia 30303-8960

Any payments due to the Unitedl States shall be mailed to:

United States Environmental Protection Agency, Region 4
Superfund Accounting

Attn: Collection Off'icer in Supert`und

P. O. Box 100142

Atlanta, Georgia 30384

6- Sectio`n XXVHI (Effective And Termination Dates) [page 58] is amended by adding the

following language as a third sub-Section:

C. These Amcndrnents To Consent Decree shall become effective upon entry by the

Court.

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7. Section XXX]I (Lodging And Opportunity For Public Cornment) [page 59] is amended

by adding the following language as a second paragraph:_

These Arnendrnents to the Consent Decree shall be lodged with the court for a
period of not less than thirty (30) days for public notice and comment in accordance with
Section 122(d)(2) of CERCLA, 42 U.S.C. 9622(d)(2) and 28 C. F..R 50..7 The United
States reserves the right to withdraw or withhold its consent if the comments regarding
these Amendments to the Consent Decree disclose facts or considerations which indicate
that the Amendments to this Consent Decree are inappropriate, improper, or inadequate
Settlors consent to the entry of these Amendments to the Consent Decree without further

notice.

' so oRDERE_D THisQZé_ DAY o , 2004-

 

~/€/t

Un ed States District Judge_

`;:(`Jase 2:91-CV-O2815-BBD Document 151 Filed 07/27/05l Page 8 of 14 Page|D 11

THE UNDERSIGNED PART[ES enter into these Amen`dments To The Partial Consent Decree

in the matter of United States v. Velsicol Chemical Corporation and City of Memphis,

Tennessee, relating to the North Hollywood Dump Superfund Site.

Date:

Date:

Date:

Date:

Date:

FOR THE UNITED STATES OF AMERICA

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THOMAS L. SANSONET'I`I

Assistant Attomey General

Environment and Natural Resources Division
U.S. Department of Justice

Mlbalw

ALAN S. TEN'ENBAUM

National Bankruptcy Coordinator
Environment and Natural Resources Division
U.S. D ent of J ustice

  

 

 

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Environrnent and Natural Resources Division
U.S. Department of Justice

 

Winston A. Smith

Director, Waste Management Division

United States Environmental Protection Agency
Region 4

 

DAVID S. ENGLE

Associate Regional Counsel

United States Environmental Protection Agency,
Region 4

v

`.,'.

Case 2:91-CV-O2815-BBD Document 151 Filed 07/27/05 Page 9 of 14 Page|D 12

THE UNDERslGNsn PAR.TIES enter hire these Ameedmeere re nw Persei ceeeeer Deeee
in the matter of United States v.\ Velsicol Chernical Corporation and City of Memphis,

Tennessee, relating to the North Hollywood Dump Superlimd Site.

FOR. THE UNITED STATES OF A.M:ER.ICA

Date:

 

 

THOMAS L. SANSONETTI
Assistant Attomey General

- Environment and Natural Resources Division
U.S. Department of Justice

Date:

 

 

AI..AN S. TENENBAUM

National Bankruptcy Coordinator
Environrnent and Natural Resources Division
U.S. Department of Justice

Date:

 

 

QUENTII\I C. PAIR
Environment and N

. U.S.Departme
Date: L/Zj 55 j
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\‘--»'/ wastes A. smith g "
Director. Waste agernent ivision
United States Enviroiunental Protection Agency

    
 

Resources Division

Region 4
Date: a?//§/e'f/ M%%L/ A..»£'/’£z,e'd"

 

 

/6Avm s. ENGLE
Associate Regional Counsel
United States Environmental Protection Agency,
Region 4 l

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Case 2:91-CV-O2815-BBD Document 151 Filed 07/27/05 Page 10 of 14 Page|D 13

TERRELL L. HARRIS
United States Attorney
Western Distn'ct of Tennessee

Q<§LC&!\/v->

JoaJA. DYcUs f d
AssistantUnited State _ orney

800 Clit`ford Davis Federal Ot`t'ice Building
167 N. Main Street

Memphis, TN 38103-1898

(901)` 544-4231

`Case 2:91-cV-O2815-BBD` Document 151 Filed 07/27/05 Page 11 of 14 Page|D 14

FOR VELSICOL CHEMICAL CORPORATION

Date: illnqu

Authorized A`gent to accept service for
Velsicol Chemical Corporation

C/{/l/l/a'rx»i/t/t.em/

Charles R. Hanson

Vice President, Environmental Management
Velsicol Chem'ical Corporation

Memphis Environmental Center ‘

5909 Shelby Oaks Dr'ive

Suite 146 _

Memphis, Tennessee 38134

Charles R. Hanson
Vice President, Environmental Management
Velsicol Chemical Corporation

7 Memphis Environmental Center

5909 Shelby Oaks Drive
Suite 146
Memphis, Tennessee 3 8134

Case 2:91-CV-O2815-BBD Document 151 Filed_O7/27/O5 Page 12 0114 Page|D 15

ron THE crrY oF MEMPHIS, TENNESSEE

sale /2/14/0%'

Authorized Agent _to accept service for The
City of Memphis

law

Sara L. Hall

City Attorney

City of Memphis
125 North Main St.
Memphis, 'I`N 38103
(901) 576-6000

Sara L. Hall

City Attomey

City of Memphis
125 North Main St.
Memphis, TN 38103
(901) 576-6000

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FOR THE CUSTODI.AL TRUST

Ot`fice of the Custodial Trust
l __ M,_ 0 ( . LePeremene 111, ine., nor individueii ber eieiy

as Custodial Trustee /00 .'~ /V

teinberg, not in `Y idiially but solelyas g § M,
P sident of LePeto III, Inc., not

individually but solely as Custodial Trustee

Date:

 

  
 

Office of the Custodial Trust
LePetomane H], Inc., not individually but solely
as Custodial Trustee
Authorized Agent to accept service for the J ay Steinberg, not individually but solely as
Custodial Trust y President of LePetomane IH, lnc., not
individually but solely as Custodial Trustee
321 North Clark Street Suite 2700
Chicago, Illinois 60603

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Notice of Distribution

This notice confirms a copy of the document docketed as number 151 in
case 2:91-CV-02815 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed

 

 

John B. Bulgozdy

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J ames W. Gentry

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Honorable Bernice Donald
US DISTRICT COURT

